                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
In re:

ARK LABORATORY, LLC,                                    Case No. 23-43403-MLO
                                                        Chapter 11
         Debtor.                                        Hon. Maria L. Oxholm
                            /
PAUL R. HAGE, solely in his
capacity as Liquidating Trustee
of the Ark Laboratory Trust,

         Plaintiff,                               Adv. P. Case No. 23-04496-MLO

v.

JAMES A. GROSSI, an Individual,
2210/305 LLC, a Michigan limited liability
Company, BRIAN TIERNEY,
Individually and as Trustee of the
TIERNEY FAMILY TRUST DATED
12/21/2018, NAMEER KIMINAIA,
Individually and as Trustee of the NAMEER
KIMINAIA LIVING TRUST DATED 5/31/2019,
TIERNEY FAMILY TRUST DATED
12/21/2018, NAMEER KIMINAIA
LIVING TRUST DATED 5/31/2019,
HAMID SATTAR, ION DIAGNOSTICS, LLC, a
Michigan limited liability company, and ION
MARKETING, LLC, a Michigan limited liability
company,

         Defendants.
                                   /

                      REPORT OF PARTIES’ RULE 26(f) CONFERENCE

         Pursuant to Fed. R. Bankr. P. 7026 and Fed. R. Civ. P. 26(f), a conference was



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held on March 11, 2024 by video conference and was participated in by:

   • Kimberly Ross Clayson and David Wallace of Taft Stettinius & Hollister,
     LLP for Plaintiff, Paul R. Hage, solely in his capacity as Liquidating Trust of
     the Ark Laboratory Trust;

   • Michael I. Zousmer of Zousmer Law Group PLC as co-counsel on behalf of
     Defendants James A. Grossi, Brian Tierney, Nameer Kiminaia and Hamid
     Sattar;

   • Morrie Lefkowitz of Lefkowitz Law Group on behalf of Defendant 2210/305
     LLC;

   • Raymound J. Salloum of Raymond Salloum Law Offices on behalf of
     Defendants Tierney Family Trust Dated 12/21/2018, Nameer Kiminaia Living
     Trust Dated 5/31/2019, Ion Diagnostics, LLC and Ion Marketing, LLC;

This is submitted as the required report of that conference.

       (1)   Initial Disclosures required by Fed. R. Civ. P. 26(a)(1).

             [X] The parties will provide such by April 4, 2024; or
             []    The parties agree to provide the following at the times
             indicated:

       (2)   Discovery Plan. The parties jointly propose to the Court the following
             discovery plan:

             (a)    Discovery will be needed on the following subjects: The
                    allegations contained in Plaintiff's complaint and defenses
                    asserted in the Defendants’ answers and affirmative defenses.

             (b)    All discovery commenced in time to be completed by February
                    28, 2025.

             (c)    Maximum of 32 interrogatories by Plaintiff to each of the
                    Defendants, Maximum of 32 interrogatories by each Defendant
                    to Plaintiff. Responses due 30 days after service, plus 3 days
                    pursuant to Fed. R. Bankr. P. 9006(f) if service by U.S. Mail. The



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                   parties consent to accept service of interrogatories and responses
                   via email to the parties’ counsel of record in this Adversary
                   Proceeding.

            (d)    Maximum of 25 requests for admission by Plaintiff to each of the
                   Defendants, Maximum of 25 requests for admission by each of
                   the Defendants to Plaintiff.

                   Responses due 30 days after service, plus 3 days pursuant to Fed.
                   R. Bankr. P. 9006(f) if service by U.S. Mail. The parties consent
                   to accept service of requests for admissions and responses via
                   email to the parties’ counsel of record in this Adversary
                   Proceeding.

            (e)    Depositions:

                   Plaintiff is entitled to 1 deposition of each of the Defendants and
                   1 deposition of the each of the Defendants’ witnesses.

                   Defendants are each entitled to 1 deposition of Plaintiff and each
                   of the Plaintiff’s witnesses. Nonetheless, the Defendants shall
                   make all reasonable efforts to jointly coordinate depositions and
                   deposition topics to prevent unreasonable duplication of
                   deposition discovery to Plaintiff.

            (f)    Each deposition shall be limited to maximum of 7 hours unless
                   extended by agreement of parties. Depositions of each party or
                   witness may take place over more than one day subject to the
                   time limitation provided herein.

            (g)    Reports from retained experts under Rule 26(a)(2) due:

                   Party with burden of proof on an issue expert report due date:
                   October 15, 2024,

                   Party with burden of proof on an issue rebuttal expert report
                   due date: November 30, 2024,

                   Expert discovery cut-off date February 28, 2025.



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            (h)    Supplementations under Rule 26(e) shall be timely submitted
                   within 14 days of discovery of the additional materials or
                   information being the cause of the need to supplement. In the
                   event that a disclosure is made after the close of discovery, or
                   without adequate time remaining in the discovery period for the
                   non-supplementing party to adequately investigate the claim, the
                   parties shall stipulate to a suitable adjournment/extension of dates
                   and deadlines, not less than 30 days, in order to provide said non-
                   supplementing adequate time to investigate the disclosure. The
                   non-supplementing party may file a motion if an agreement as to
                   the extension/adjournment cannot be reached.

            (i)    Discovery of electronically stored information:

                   This adversary proceeding does involve the discovery of
                   electronically stored information.

                   Pursuant to E.D. Mich. LBR 7026-4, the Model Order
                   Relating to the Discovery of Electronically Stored
                   Information approved by the District Court will apply.

      (3)   Other Agreed Upon Items.

            (a)    Plaintiff is granted leave through, and the deadline is June
                   14, 2024 to join additional parties and/or to amend the
                   pleadings.

            (b)    Defendants are granted leave through, and the deadline is
                   June 14, 2024 to join additional parties and/or to amend the
                   pleadings.

            (c)    All potentially dispositive motions should be filed by March
                   17, 2025.

            (d)    The proceeding should be ready for trial by April 28, 2025.
                   The trial is expected to take approximately 3 trial days.

            (e)    Jury Trial Matters.

                   (i)     [ X ] a jury trial was not timely demanded and is waived;


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                                    or

                              [ ] a jury trial was timely demanded, but is waived; or

                              [ ] a jury trial was timely demanded but not waived.

                   (ii)       [ ] the parties consent to the Bankruptcy Court conducting
                              the jury trial; or

                             [ ] the parties do not at this time consent to the
                             Bankruptcy Court conducting the jury trial.

            (f)    The parties agree that:

                          [ X ] This is a core proceeding; or

                       [ ] This is a non-core proceeding otherwise related to the
                       bankruptcy case.

            (g)    [ X ] The parties consent to the Bankruptcy Court entering a final
                   order or judgment in this proceeding; or

                   [       ] The parties do not consent to the Bankruptcy Court
                             entering a final order or judgment in this proceeding.

      (4)   Other matters.

                   The parties agree that mediation of this Adversary Proceeding is
                   likely to facilitate a settlement of Plaintiff’s claims and causes of
                   action and request this court to enter an order of mediation with
                   mediation to conclude on or before August 30, 2024. The parties
                   reserve the right to extend the deadline for completion of
                   mediation and to hold subsequent mediation sessions if the initial
                   mediation is not successful.

                   The parties have agreed to designate Hon. Phillip Shefferly as
                   the mediator in this Adversary Proceeding.




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       (5)   Matters not agreed upon or insufficiently addressed by the
                   foregoing.

                    None.

      This report was approved for submission by the Plaintiff through email

consent of all the parties.

                                   Respectfully submitted;

                                   TAFT STETTINIUS & HOLLISTER, LLP

                                   By: /s/Kimberly Ross Clayson
                                   Kimberly Ross Clayson (P69804)
                                   Judith Greenstone Miller (P29208)
                                   27777 Franklin Road, Suite 2500
                                   Southfield, Michigan 49034
                                   (248) 351-3000
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                                   David H. Wallace (Ohio Bar No. 0037210)
                                   200 Public Square Suite 3500
                                   Cleveland, OH 44114-2302
                                   (216) 241-2838
Dated: March 12, 2024              dwallace@taftlaw.com

                                   Attorneys for Plaintiff Paul R. Hage Solely in his
                                   Capacity as Liquidating Trustee of the Ark
                                   Laboratory Trust




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         /
                               CERTIFICATE OF SERVICE




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      I hereby certify that on March 12, 2024, I caused a copy of the Report Of

Parties’ Rule 26(f) Conference and this Certificate of Service on all parties who are

registered to receive electronic notification via the court’s ECF filing system.



                                 Respectfully submitted;

                                 TAFT STETTINIUS & HOLLISTER, LLP

                                 By: /s/Kimberly Ross Clayson
                                 Kimberly Ross Clayson (P69804)
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                                 Cleveland, OH 44114-2302
                                 (216) 241-2838
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